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  PS 40
  (REV . 6/05)


                                      UNITED STATES DISTRICT COURT


   NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFENDAN T

  TO : United States Department of State FROM : U .S . Probation Office
       Office of Passport Policy and Advisory Services David J . Farinacc i
       2100 Pennsylvania Avenue, NW, 3' Floor 505 South Second Street, Suite 320
       Washington, D .C . 20037 Fort Pierce, Florida 3495 0


      ❑       Original Notice                          ®    Notice of Disposition

  Date :                 Date :                             Septemb er 1 6, 200 5

  BY:                     BY : U .S . District Judge Kenneth A . Marr a




   Defendant : Macari , John Case Number:                                aaCl~ ) s!d ~'S/_

   Date of Birth : 6/24/1929 Place of Birth : Hartford, Connecticut

   SSN : XXX-XX-XXXX                                                                n            ca
                                                                                                 cN
                                                                                                 cr.
                                                                                    13




  NOTICE OF COURT ORDER          (Order Date :                                                         I . r*1
                                                                                                       -no=
   ❑ The above-named defendant is not permitted to apply for the issuance of a passport dul*Fg         -4 >

        the pendency of this actio n                                                D          ko ~• x
                                                                                                     In
   ❑ The above-named defendant surrendered Passport Number                                   to th e

        custody of the U .S. District Court on




 The above case has been disposed of and the above order of the court is'no longer in' effect.
  ❑ Defendant not convicted - Document returned to defendant

  ❑ Defendant not convicted .-Document enclosed for further investigation due to evidenc e

        that the document may have been issued in a false nam e

  ® Defendant convicted - Document and copy of Judgment enclosed .


 Distribution :
 Original to Case File
 Department of State
 Defendant (or representative)
 Clerk of Court
